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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ACCIDENT INSURANCE COMPANY, INC.                   )
                                                    )
        Plaintiff,                                  )
                                                    )
        v.                                          ) Civil Action No. 1:20-cv-01190-SEB-TAB
                                                    )
 SMITH’S BELL AND CLOCK SERVICE INC.,               )
 HAMILTON COUNTY PARKS AND                          )
 RECREATION                                         )
                                                    )
        Defendants.                                 )

              AGREED JUDGMENT BETWEEN AIC AND HAMILTON COUNTY

        Comes now Plaintiff, Accident Insurance Company, Inc. (“AIC”), by counsel, and

 Defendant, Hamilton County Parks and Recreation (“Hamilton County”), by counsel, and enter

 into an Agreed Judgment (“Judgment”) between them. The agreement, as reflected by this

 Judgment, is as follows:

        (1)     AIC provided an insurance policy (the “Policy”) to Smith’s Bell and Clock

 Service, Inc. (“Smith”).

        (2)     Smith performed maintenance and repair services of two clock and bell towers

 (“Towers”), which are located at Coxhall Gardens in Carmel, Indiana, and which are owned by

 Hamilton County.

        (3)     Hamilton County alleges that Smith’s work was deficient and caused damage to

 the Towers. As a result, Hamilton County filed a lawsuit in the Hamilton County Superior Court

 3, Cause No. 29D03-1911-CC-010507 (the “Lawsuit”) against Smith seeking to recover

 property damages.
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        (4)     AIC filed the present declaratory judgment action, which included Hamilton

 County as a Defendant, to assert and protect its interest, if any, as to recovery of any damages

 assessed against Smith from the Policy (collectively, the “DJ Complaint”) (Dkt. No. 1).

        (5)     Hamilton County takes no position as to the requested relief sought by AIC in its

 DJ Complaint. Hamilton County does not intend to file an answer, asserting a position either

 way, to the DJ Complaint.

        (6)     Accordingly, Hamilton County consents to a Judgment in AIC’s favor on its DJ

 Complaint should the Court decide that AIC owes neither a defense nor indemnity to Smith for

 Hamilton County’s Lawsuit and request for damages against Smith.

        (7)     Each party to bear its own costs.


 Approved:


 /s/ Christopher J. Neeson                              /s/ Richard K. Shoultz
 Stephen K. Andrews, #2415-49                           Richard K. Shoultz, #15558-73
 Christopher J. Neeson, #31767-49                       Jordan T. Crabtree, #35736-29

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 Counsel for Defendant, Hamilton County                 Counsel for Plaintiff, Accident Insurance
 Parks and Recreation                                   Company, Inc.




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 11, 2020, a copy of the foregoing was filed and served on
 all parties via the Court’s ECF system, which will send notification to all counsel of record.


                                              By: /s/ Richard K. Shoultz
                                                 RICHARD K. SHOULTZ


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